           Case 1:17-cv-00950-RP Document 17 Filed 11/07/17 Page 1 of 1



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

ALICE M. JOHNSON and CAROL A.                     §
JOHNSON,                                          §
                                                  §
                Plaintiffs,                       §
                                                  §
v.                                                §                  1:17-cv-950-RP
                                                  §
U.S. BANK NATIONAL ASSOCIATION as                 §
trustee for NRZ Pass-Through Trust V,             §
                                                  §
                Defendant.                        §

                                             ORDER

        Defendant U.S. Bank National Association, as trustee for NRZ Pass-Through Trust V, filed

a Suggestion of Bankruptcy Filing, advising the Court that Plaintiff Alice Johnson is a debtor in a

Chapter 13 bankruptcy case pending in the United States Bankruptcy Court for the Western District

of Texas. (Dkt. 14). The filing of a bankruptcy petition renders this action subject to the automatic

stay codified in 11 U.S.C. § 362.

        Accordingly, IT IS ORDERED that the above-styled action is automatically stayed

pursuant to 11 U.S.C. § 362. Additionally, the parties are ORDERED to notify this Court

immediately should the bankruptcy action be terminated.



        SIGNED on November 7, 2017.




                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
